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                                                                                   FILED
                                                                                   CLERK

                                                                         2:35 pm, Sep 15, 2023
                             UNITED STATES DISTRICT COURT                    U.S. DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK               EASTERN DISTRICT OF NEW YORK
                                                                             LONG ISLAND OFFICE


         ------------------------------X Docket#
         SUPERB MOTORS, INC., et al.,  : 23-cv-06188-OEM-ST
                                       :
                         Plaintiffs,   :
                                       :
              - versus -               : U.S. Courthouse
                                       : Central Islip, New York
         DEO, et al.,                  :
                                       : September 15, 2023
                         Defendants    : 11:31 a.m.
         ------------------------------X

             TRANSCRIPT OF CIVIL CAUSE FOR SETTLEMENT CONFERENCE
                     BEFORE THE HONORABLE JAMES M. WICKS
                       UNITED STATES MAGISTRATE JUDGE


         A    P    P     E     A   R   A     N    C     E    S:



         For the Plaintiff:                Emanuel Kataev, Esq.
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   1                THE CLERK:    Calling civil case 2023-6188,

   2   Superb Motors, Inc., et al. v Deo, et al.

   3                Counsel, please state your appearances for the

   4   record.

   5                MR. KATAEV:    Good morning, everyone.             Emanuel

   6   Kataev of Milman Labuda Law Group PLLC for the plaintiffs

   7   that are moving, Superb Motors, Inc., Team Auto Sales

   8   LLC, and Robert Anthony Urrutia.

   9                THE COURT:    Good morning, Mr. Kataev.             And with

  10   you?    If you could identify your clients?

  11                MR. KATAEV:    With me is Robert Anthony Urrutia

  12   and Bruce Novicky.

  13                THE COURT:    Okay.      Good morning.

  14                UNIDENTIFIED SPEAKER:          Good morning.

  15                THE COURT:    You can remain seating.

  16                MR. KATAEV:    Thank you.

  17                MR. THOMASSON:       Harry Thomasson, 3280 Sunrise
  18   Highway, Box 112, Wantagh, New York for Mr. Deo who joins

  19   me here this morning, your Honor.             Good morning.

  20                THE COURT:    Okay.      Good morning to you both ass

  21   well.    So we just concluded --

  22                MR. THOMASSON:       Your Honor?

  23                THE COURT:    Yes?

  24                MR. THOMASSON:       Excuse me, I'm sorry.          To be

  25   exact, I represent the responding defendants on the TRO.




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   1                THE COURT:    Okay.      So it is --

   2                MR. THOMASSON:       And not just Mr. Deo.

   3                THE COURT:    Right.      All of the defendants

   4   except for the lending institution and the accountant if

   5   I remember from yesterday.

   6                MR. THOMASSON:       Yes, you do.

   7                THE COURT:    All right.        So we just concluded a

   8   conference, a settlement conference limited to the TRO

   9   portion of the motion that is before Judge Merchant.                    And

  10   we've come to a resolution of the TRO only.                And I'm

  11   going to recite the terms and I'm going to ask everyone

  12   to listen carefully because I'm going to ask both sides

  13   then were these the terms and is there anything different

  14   or additional that needs to be added.              Okay?     And then

  15   I'll post something later today.             You can get the

  16   transcript through the clerk's office.               And I'll advise

  17   Judge Merchant that the TRO portion has been resolved
  18   today.

  19                All right.    So here is the agreement.

  20                We are, just for reference, we have been using

  21   the chart that is posted at docket entry 30-8.                 That's a

  22   three-page chart of vehicles and it has notations after

  23   each vehicle.      So 28 vehicles, that is of all of the yes

  24   indicated vehicles, will be returned to plaintiff.                   The

  25   only yes vehicle that is not going to be returned to




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   1   plaintiff's lot is the 2023 Chevy Suburban which is on

   2   page 3 of the chart ending in the four digits of the VIN

   3   number 8675.       So those 28 vehicles of the yes except for

   4   the Chevy Suburban, which would bring it to 29, so it

   5   brings it down to 28, are going to plaintiff's lot.

   6                In addition, the two Isuzu flatbed trucks are

   7   going to get returned to plaintiff's lot.                 So that's a

   8   total of 30 vehicles will be returned to plaintiff's lot.

   9   Plaintiffs agree not to sell or dispose during the TRO

  10   period these 30 vehicles.

  11                Also on the list there are six vehicles that

  12   the defendants agree not to sell or dispose of during the

  13   TRO period.       One of the six is the Chevy Suburban, the

  14   2023 Chevy Suburban.        And then there are five others on

  15   the list.    I'm just going to recite them for the record

  16   so it is clear to everybody.

  17                2020 Mercedes-Benz.          That's on page 2 of the
  18   list, the third entry ending in VIN 4078.

  19                On the same page is a 2019 Land Rover Range

  20   Rover ending in VIN 3297.

  21                The next page, the third page, there are three

  22   cars on that.      One, a 2017 Rolls-Royce Dawn ending in VIN

  23   2728.

  24                Going down the list is a 2016 Audi A6 ending in

  25   VIN 9650.




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   1                And finally, there's a 2016 Audi Q5 ending in

   2   0272.

   3                Those vehicles will not be sold or disposed of

   4   by plaintiff during the TRO period.               The TRO will remain

   5   in effect pending decision by Judge Merchant on the

   6   underlying motion for preliminary injunction.

   7                In addition, there are two other items.

   8   Defendants will provide proof of insurance on the Chevy

   9   Suburban and on the Land Rover which are used as demos.

  10   They'll provide that today.          Email PDF over through

  11   counsel proof of insurance.

  12                And then the remaining issue is the plaintiffs

  13   have two dealer plates which they will locate that are in

  14   defendant's ownership, that they'll be turned back over

  15   to defendant.      And just for reference, defendants

  16   indicated that the two dealer plates are being used by

  17   Eugene and Landy.      So if you can locate those and get
  18   those back to the defendants.

  19                Those are the terms that I have.             Mr. Kataev,

  20   any other terms of the TRO?

  21                MR. KATAEV:    Not so much terms but

  22   clarifications on the terms.

  23                THE COURT:    All right.

  24                MR. KATAEV:    In terms of returning the 30

  25   vehicles, they must be returned today.               Authorization




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   1   provided, permission granted for our team to come in to

   2   pick them up.

   3                THE COURT:    All right.        Any problem there?

   4                MR. THOMASSON:       We agree to have them come and

   5   pick them up.     We will let them know --

   6                THE COURT:    You'll make them available today.

   7                MR. THOMASSON:       We will let them know just as

   8   soon as we can figure out where we're going to do it

   9   because we don't want them in the building at this time.

  10                THE COURT:    Okay.      Mr. Deo, you'll be able to

  11   give access today though because that has to happen

  12   today.

  13                MR. DEO:    Yes.

  14                THE COURT:    Okay.      Good.       Anything else, Mr.

  15   Kataev?

  16                MR. KATAEV:    The next issue is that they agree

  17   not to sell or dispose those six vehicles but all the
  18   remaining vehicles they similarly agree not to sell or

  19   dispose of them as Judge Merchant already ordered.

  20                THE COURT:    Well, I'm not getting into what she

  21   already ordered.      That's her order.           So that's not part

  22   of this TRO.

  23                MR. KATAEV:    Okay.      In terms of the dealer

  24   plates, we currently can't confirm possession of them but

  25   we will make search efforts to locate them and if we have




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   1   them, we will provide them.

   2                THE COURT:     Okay.      If you don't have them,

   3   you'll get an affidavit saying you no longer have them.

   4   You'll provide them with an affidavit.

   5                MR. KATAEV:     And finally, that this stipulation

   6   of settlement will be so ordered and it is just for these

   7   vehicles.     And the remaining vehicles are still in play

   8   for the preliminary injunction motion.

   9                THE COURT:     All other rights are preserved for

  10   both sides.       This just resolves the TRO.

  11                MR. KATAEV:     And I'm just going to confer with

  12   my clients before I confirm that we're all done.

  13                THE COURT:     All right.

  14                MR. KATAEV:     Nothing further, your Honor.

  15                THE COURT:     All right.        Very well.      Mr.

  16   Thomasson, anything --

  17                MR. THOMASSON:        I only had one point I wanted
  18   to bring up that I think we just covered but I wanted to

  19   be clear on

  20                THE COURT:     Good.

  21                MR. THOMASSON:        The six cars that we are

  22   agreeing to not sell or dispose of, those specific six --

  23                THE COURT:     Yes.

  24                MR. THOMASSON:        -- one of which is marked yes

  25   and we agree is ultimately Superb's.               We do not agree and




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   1   we are taking I guess all of us collectively no position,

   2   everybody's rights are still preserved --

   3                THE COURT:    That's right.

   4                MR. THOMASSON:       -- on the other five.

   5                THE COURT:    That's right.

   6                MR. THOMASSON:       I just want to -- right.

   7                THE COURT:    Yes.     All rights as to who owns

   8   what are preserved for sure.

   9                MR. THOMASSON:       Because our position on the

  10   list --

  11                THE COURT:    Yes.

  12                MR. THOMASSON:       -- as we marked it up remains

  13   the same.

  14                THE COURT:    Agreed.       All this does is really

  15   maintain sort of a standstill or status quo as to those.

  16   Everybody's rights are preserved with respect to the

  17   arguments as to who owns what and where they belong.
  18                MR. THOMASSON:       Understood.

  19                THE COURT:    All right?

  20                MR. THOMASSON:       Yes.

  21                THE COURT:    Listen, I appreciate you coming in

  22   today on such short notice.          I appreciate the submissions

  23   from counsel last night.         They were very helpful.           And I

  24   really appreciate the active participation and the

  25   compromise on both sides in trying to resolve at least




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   1   the TRO.    Right?      I'm sorry it's not my case.             I enjoyed

   2   having you in, all of you.

   3                MR. KATAEV:        We're grateful that you made

   4   yourself available, your Honor.

   5                THE COURT:        Of course.      Any time.      All right.

   6   Have a good afternoon, everybody, and good luck to

   7   everybody.        All right?

   8                MR. THOMASSON:         Thank you.

   9                MR. KATAEV:        Thank you.

  10                              (Matter concluded)

  11                                        -oOo-

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                    C      E     R   T   I     F    I     C    A    T    E



                         I, MARY GRECO, hereby certify that the

         foregoing transcript of the said proceedings is a true

         and accurate transcript from the electronic sound-

         recording of the proceedings reduced to typewriting in

         the above-entitled matter.



                         I FURTHER CERTIFY that I am not a relative or

         employee or attorney or counsel of any of the parties,

         nor a relative or employee of such attorney or counsel,

         or financially interested directly or indirectly in

         this action.



                         IN WITNESS WHEREOF, I hereunto set my hand

         this 15th day of September, 2023.




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